Case 2:11-cv-14032-PDB-LJM ECF No. 34-1, PageID.239 Filed 03/23/12 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

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 COACH, INC. and COACH SERVICES,             :
 INC.,                                       :
                                             :        Civil Action No. 2:11-cv-14032-PDB-
                             Plaintiffs,     :        LJM
                                             :
 v.                                          :        Hon. Paul D. Borman
                                             :
 DEQUINDRE PLAZA, L.L.C., d/b/a County       :        Hon. Magistrate Judge Laurie J.
 Line Flea Market, County Line Trade Center, :        Michelson
 and County Line Antique Flea Market         :
 and MICHAEL SHOLEM SURNOW and               :
 SOON HWA KIM and ASABOR ALI and             :
 MARJORIE ESTHER GLOGOWER and                :
 Unknown Defendants 1-10 (JOHN DOES),        :
                                             :
                             Defendant(s).   :
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       PLAINTIFFS COACH, INC. AND COACH SERVICES INC.’S (“COACH”)
     RESPONSE TO DEFENDANTS SURNOW AND DEQUINDRE PLAZA, L.L.C.’S
                  MOTION FOR LEAVE TO AMEND ANSWER


                                      EXHIBIT LIST


1.     Michael S. Surnow and Dequindre Plaza, LLC’s Answers to First Interrogatories,
       Requests for Production, Requests for Admission to Defendants Dequindre Plaza, L.L.C
       and Michael Surnow

2.     Coach’s First Set of Discovery to Defendants Ali, Glogower, and Kim

3.     Coach’s First Set of Discovery to Dequindre Plaza, L.L.C. and Michael Surnow
